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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

   THE STATE OF ARIZONA,
   By and through its Attorney General, Mark
   Brnovich, et al.,

                                         PLAINTIFFS,

   v.

   CENTERS FOR DISEASE CONTROL &                        CIVIL ACTION NO. 6:22-CV-885
   PREVENTION; et al.,

                                      DEFENDANTS.


           PLAINTIFF STATES’ MOTION FOR PRELIMINARY INJUNCTION AND TO EXPEDITE

         The States of Arizona, Louisiana, Missouri, Alabama, Alaska, Arkansas, Florida, Georgia,

  Idaho, Kansas, Kentucky, Mississippi, Montana, Nebraska, Ohio, Oklahoma, South Carolina,

  Tennessee, Utah, West Virginia, and Wyoming (collectively, “Plaintiff States”), respectfully move for

  an order under Federal Rule of Civil Procedure 65 for a preliminary injunction, with expedited

  consideration, in their favor against the named Defendants. As explained in the First Amended

  Complaint (“FAC”) and the attached Memorandum, Defendants have violated to Administrative

  Procedure Act by, inter alia, revoking a Title 42 Order without notice and comment, failing to consider

  harms to the States and other reliance interests, and failing to consider the immigration consequences

  of revocation.

         This Motion is made on the grounds specified herein, the Complaint and other documents on

  file, the accompanying Memorandum of Law, the exhibits attached to the Complaint and to this

  Motion, all matters of which this Court may take judicial notice, and such other argument and evidence

  on which the Court may properly rely. Plaintiff States are substantially likely to prevail on the merits

  of their claims and preliminary injunctive relief is necessary to avoid substantial injuries to their



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  sovereign, quasi-sovereign, and proprietary interests. The public interest and balance of harms favor

  an order compelling Defendants to follow the law.

          For the foregoing reasons, Plaintiff States respectfully request a preliminary injunction,

  without bond, enjoining Defendants from applying the Termination Order and requiring them to

  maintain the Title 42 Order in place until such time as the Title 42 Order is amended or revoked in

  compliance with the Administrative Procedure Act. To avoid irreparable harm, Plaintiff States further

  request that Defendants be ordered to respond to this motion and produce the administrative record

  no later than April 29, 2022, with any reply due no later than Monday, May 9 at 10 a.m. CDT. Plaintiff

  States have conferred with Federal Defendants and agreed upon these dates, and will separately submit

  a stipulation to that effect.

          Plaintiff States further request that this motion be resolved before the Title 42 termination

  becomes effective on May 23, 2022.


  Dated: April 14, 2022                               Respectfully submitted,

                                                      By:/s/ Elizabeth B. Murrill

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